 Federal Defenders                                                                  Southern District
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 David E. Patton                                                               Soutliern District of New York
  Execuewe DtreclOr                                                                Jennifer L. Brown
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                                                                  April 22, 2019
BY EMAIL

Honorable Jed S. Rakoff
U.S. District Judge                                                      USDCSDNY
Southern District of New York                                            DOCUMENT
500 Pearl Street                                                         ELECTRONICALLY FILED
New York, NY 10007                                                       DOC#:~~-f-i~~...,.,_,.-­
                                                                         DATEFILED:
         Re:          United States v. Cesar Altieri Sayoc
                      18 Cr. 820 (JSR)

Dear Judge Rakoff:

       The defense respectfully submits this letter in response to the Court's April 18,
2019 correspondence regarding ordering a psychological evaluation and treatment of
Mr. Sayoc. The defense requests that the Court not order a psychological evaluation
at this time for the reasons set forth below. With respect to treatment, we have been
in touch with the MCC's legal department and at this time we do not believe it is
necessary for the Court to order treatment in order for Mr. Sayoc to receive treatment
at the MCC.

       The defense has had Mr. Sayoc psychologically evaluated and we anticipate
submitting two written reports in connection with his sentencing: one report by a
clinical psychiatrist generally evaluating Mr. Sayoc and another report by a
psychiatrist with specialized knowledge regarding the effects of steroid use to address
how Mr. Sayoc's extensive steroid use likely affected his mental health. We believe
that these two reports will provide the Court with ample information about Mr.
Sayoc's mental health.

      In addition, for logistical reasons, the defense requests that the Court not order
the Bureau of Prisons to conduct a psychological evaluation of Mr. Sayoc. As we
understand, if the Court orders the Bureau of Prisons to conduct a forensic
psychological evaluation of Mr. Sayoc, the Court can recommend-but not control-
where the evaluation will take place. Any order for an evaluation is routed through
 the BOP's Grand Prairie designation center and could be assigned to any one of the
 BOP's forensic study sites. It is therefore possible that Mr. Sayoc would be moved to
 a different, out-of-state BOP facility for the evaluation. We understand that the BOP
 will try to accommodate any recommendation that Mr. Sayoc remain at the MCC, but
 it is not guaranteed and this may delay when the evaluation takes place. In addition,
 the time the BOP takes to conduct an evaluation might also delay Mr. Sayoc's
 scheduled sentencing. For these reasons, we ask the Court not to order the BOP to
 conduct a forensic psychological evaluation.

                                              Respectfully submitted,

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cc:   United States Attorney's Office, SDNY
